                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                              September 10, 2015
                              No. 10-15-00038-CR
                              RONNY JOE STANDIFER
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                                       
                        From the 19[th] District Court
                            McLennan County, Texas
                          Trial Court No. 2013-122-C1
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's judgment, signed on February 5, 2015 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

